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 5
     PEDRO CRUZ FUENTES
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 7

 8                               UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           Case No.: 2:16-CR-025 TLN
12
                    Plaintiff,
13
     vs.                                                 STIPULATION AND ORDER
14                                                       CONTINUING STATUS CONFERENCE
     PEDRO CRUZ FUENTES,                                 AND EXCLUDING TIME UNDER THE
15                                                       SPEEDY TRIAL ACT
16                  Defendant.
                                                         Date:    August 16, 2018
17                                                       Time:    9:30 a.m.
                                                         Court:   Hon. Troy L. Nunley
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22
            This matter is presently set for a status conference on June 14, 2018. The case involves
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24   allegations of distribution of controlled substances stemming from several rounds of court-

25   authorized wiretaps. The discovery includes voluminous reports, audio and video tapes, and
26   transcripts in the English and Spanish languages.
27
     ORDER CONTINUING STATUS
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 1          Several charged defendants in this case have resolved their pending matters. The United
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     States has provided a proposed plea agreement to Defendant Pedro Cruz Fuentes. Mr. Cruz
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     Fuentes has limited English language skills and communicates with counsel through a Spanish
 4
     language interpreter. Defense counsel is continuing his review of the proposed plea agreement
 5

 6   and needs additional time to ensure Mr. Cruz Fuentes fully understands its terms, his potential

 7   defenses, his constitutional rights, and how the Sentencing Guidelines impact his potential
 8
     sentence.
 9
            The parties to this action, Plaintiff United States of America by and through Assistant
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     United States Attorney Justin Lee, and Attorney Todd D. Leras on behalf of Defendant Pedro
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12   Fuentes, stipulate as follows:

13          1.    By this stipulation, Defendant now moves to vacate the status conference presently
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                  set for June 14, 2018. The parties request to continue the status conference to August
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                  16, 2018., and to exclude time between June 14, 2018 and August 16, 2018 under
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                  Local Code T-4. The United States does not oppose this request.
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18          2. Due to the volume of discovery in the case, including the recordings and transcripts

19                of intercepted telephone conversations under court-authorized wiretaps, and the
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                  supplemental discovery recently provided by the United States, defense counsel is
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                  engaged in ongoing defense investigation related to potential defenses in this matter
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                  and review of a proposed plea agreement with Mr. Cruz Fuentes. This investigation
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24                and review of the proposed plea agreement is necessary to ensure that Mr. Cruz

25                Fuentes makes an informed decision about whether to resolve his case by negotiated
26
                  disposition.
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 1          3. Defense counsel represents and believes that failure to grant additional time as
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                requested would deny him the reasonable time necessary for effective preparation,
 3
                taking into account the exercise of due diligence.
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            4. Based on the above-stated facts, the parties jointly request that the Court find that the
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 6              ends of justice served by continuing the case outweigh the best interest of the public

 7              and the Defendant in a trial within the time prescribed by the Speedy Trial Act.
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            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 9
                seq., within which trial must commence, the time period of June 14, 2018 to August
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                16, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and
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12              (B) (iv) [Local Code T-4] because it results from a continuance granted by the Court

13              at Defendants’ request on the basis that the ends of justice served by taking such
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                action outweigh the best interest of the public and the Defendant in a speedy trial.
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            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
16
                the Speedy Trial Act dictate that additional time periods are excludable from the
17

18              period within which a trial must commence.

19          Assistant U.S. Attorney Justin Lee and all defense counsel has reviewed this proposed
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     order and authorized Todd Leras via email to sign it on his behalf.
21
     DATED: June 11, 2018
22                                                        By      Todd D. Leras for
                                                                  JUSTIN LEE
23
                                                                  Assistant United States Attorney
24   DATED: June 11, 2018
                                                          By      /s/ Todd D. Leras
25                                                                TODD D. LERAS
                                                                  Attorney for Defendant
26
                                                                  PEDRO CRUZ FUENTES
27
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 1                                                ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for June 14, 2018, is vacated.
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     A new status conference/potential change of plea hearing is scheduled for August 16, 2018, at
 5

 6   9:30 a.m. The Court further finds, based on the representations of the parties and Defendants’

 7   request, that the ends of justice served by granting the continuance outweigh the best interests of
 8
     the public and the defendant in a speedy trial. Time shall be excluded under the Speedy Trial
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     Act, 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation
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     taking into consideration the exercise of due diligence for the period from June 14, 2018, up to
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12   and including August 16, 2018.

13   DATED: June 12, 2018
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15
                                                           Troy L. Nunley
16                                                         United States District Judge

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     ORDER CONTINUING STATUS
28   CONFERENCE
